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                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                            BROWNSVILLE DIVISION


    B.X., a minor,                                                           §
                                                                             §
                Petitioner/Plaintiff,                                        §
                                                                             §
                v.                                                           §
                                                                             §
    JONATHAN HAYES, in his official                                          §         CIVIL ACTION NO. 1:19-cv-00017
    capacity as Interim Director of the Office                               §
    of Refugee Resettlement, and                                             §
    SERVANDO BARRERA, in his official                                        §
    capacity as Federal Field Specialist,                                    §
    Office of Refugee Resettlement,                                          §
                                                                             §
                                                                             §
         Respondent/Defendant.
    FIRST AMENDED PETITION FOR WRIT OF HABEAS CORPUS AND COMPLAINT
           FOR DECLARATORY AND INJUNCTIVE RELIEF; EXHIBITS 1-10

                                                               INTRODUCTION

              1.          Petitioner B.X. 1 is a nine-year-old child who fled to the United States from

Guatemala after he and his family experienced violence and persecution in their home country. In

May 2018, he came to the U.S. with his father, David Xol Cholom, seeking asylum due to fear of

persecution in Guatemala. Immigration authorities apprehended the pair at the border, separating

then eight-year-old B.X. from his father. B.X.’s father was deported shortly thereafter and B.X.

has been detained by the Office of Refugee Resettlement (ORR) for almost nine months, with no

parents or relatives in the United States to care for him.

              2.          B.X. deserves the opportunity to live in a healthy, nurturing home, which his

parents have chosen for him according to the law, while awaiting adjudication of his immigration

claims. B.X. and his parents have requested that he be released into the custody of a sponsor


1   In compliance with Fed. R. Civ. P. 5.2, B.X., a minor, is identified only by his initials.


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family, presenting ample evidence that the placement is in B.X.’s best interests, and of the fitness

of the sponsors, all to no avail. Respondents have summarily denied the request for B.X.’s release

without justification and totally devoid of due process, despite the designation of a sponsor by his

parents as capable and willing to care for him. B.X. remains in detention.

        3.      B.X.’s prolonged detention is the result of ORR’s unlawful policies and practices

regarding family separation. ORR has a statutory responsibility to “promptly” place B.X. “in the

least restrictive setting that is in the best interest of the child.” 8 U.S.C. § 1232(c)(2)(A). For

some immigrant children who come into its custody, ORR fulfills this mandate by placing children

with their parents or other relatives in the United States. For immigrant children who have no

family or relatives in the U.S.—so-called “Category 4” children—ORR ignores this mandate. Due

to rules unlawfully promulgated by ORR, children like B.X. remain in detention, even where their

parents lawfully designate a fit individual to care for them.

        4.      Indeed, B.X.’s parents have designated a family to care for their son and have

requested that B.X. be released into their custody as required by 8 C.F.R. § 236.3 and the settlement

reached in Flores v. Whitaker, No. 85-cv-4544-DMG (AGRx) (C.D. Cal.). Despite the statutory

responsibility to “promptly” place B.X. “in the least restrictive setting that is in [his] best interest,”

ORR has summarily and without reason rejected his parents’ designation of a fit sponsor. ORR’s

failure to “promptly” act violates ORR’s statutory mandate and B.X.’s constitutional rights to due

process and family integrity.


                                  JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question); 28 U.S.C. § 2201; and 28 U.S.C. § 2241 (habeas corpus).




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        6.      Venue is proper in the Brownsville Division of the Southern District of Texas under

28 U.S.C. § 1391(b) because a substantial part of the events giving rise to these claims occurred

and continue to occur in this district, including that B.X. is detained in the district.

                                                 PARTIES

        7.      Petitioner B.X. is a nine-year-old boy from Guatemala. ORR detains B.X. at the

Baptist Child and Family Services facility (“BCFS”), located in Raymondville, Willey County,

Texas. The government has classified B.X. as an unaccompanied child pursuant to 6 U.S.C. § 279.

ORR has detained B.X. in juvenile detention facilities since May 21, 2018.

        8.      Respondent JONATHAN HAYES is the Interim Director of ORR, the component

of the U.S. Department of Health and Human Services (HHS) responsible for implementing HHS’s

obligations to unaccompanied minors who are immigrants. Respondent HAYES is sued in his

official capacity.

        9.      Respondent SERVANDO BARRERA is an ORR Federal Field Specialist. Federal

Field Specialist BARRERA is the government official responsible for the care and custody of

children who ORR has placed in the BCFS facility.             In this role, Federal Field Specialist

BARRERA is responsible for determining B.X.’s placement and has authority to approve his

release to an appropriate guardian’s care. Federal Field Specialist BARRERA resides in San

Benito, Cameron County, Texas. He is sued in his official capacity.


                                   FACTUAL ALLEGATIONS

        A.           Respondents have detained B.X., a nine-year-old child, in a juvenile
                     detention facility for almost nine months.

        10.     Petitioner B.X. is a minor detained at the Baptist Child and Family Services facility

(hereafter “BCFS”), located in Raymondville, Willey County, Texas. BCFS is a third-party

contractor detaining B.X. pursuant to the authority of Respondents.

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       11.     B.X. is a native of Guatemala. He was apprehended and detained by the U.S.

Border Patrol close to McAllen, Texas, on or about May 18, 2018, along with his father David Xol

Cholom, for not having lawful immigration status in the U.S. B.X.’s father pled for asylum, on his

and on B.X.’s behalf, due to fear of persecution if they were returned to their country of origin,

based on their religion (evangelical Christian), membership in a social group (family), and political

opinion (anti-gang message). See, Exhibit 1.

       12.     B.X. is a K’iche’ indigenous child of Mayan descent, and is a K’iche’ speaker. B.X.

is originally from San Miguel Limon, Alta Verapaz, Republic of Guatemala. B.X.’s father, David

Xol Cholom, (hereinafter “David”), was brutally attacked and tortured by members of MS-18, a

criminal gang which operates in Guatemala, on October 15, 2017, because of David’s preaching

against a life of crime. B.X.’s life was also threatened when David was attacked. See, Exhibit 1.

       13.     In May of 2018, fearing for their lives, David and B.X. fled Alta Verapaz and

traveled to the U.S. seeking asylum. On May 21, 2018, three days after first being detained in a

Border Patrol facility with his father, B.X. was forcibly separated from his father and placed under

the care and custody of Respondents. David was deported to Guatemala on or about May 28,

2018, leaving B.X. behind with no relatives or family to care for him. See, Exhibit 1.

       14.     B.X. was eight years of age when separated from his father and incarcerated in

BCFS facilities under Respondent’s supervision. He has been held in four separate facilities

operated by BCFS under authority of Respondents for almost nine months, including facilities

located in Baytown, Texas, Driscoll, Texas, San Antonio, and his present incarceration in

Raymondville. He has been in three separate BCFS facilities in the past three months alone.

       15.     As victims of the government’s zero tolerance policy, David is a member of the

class subject to court orders of family reunification in the Ms. L. et al., v. U.S. Immigration and



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Customs Enforcement, et al., 302 F. Supp. 3d 1149 (S.D. Cal. 2018). However, David has waived

his rights before the court to have B.X. repatriated, as he fears that B.X.’s return to Guatemala

would place B.X. at grave risk of serious harm at the hands of Guatemalan gang members. He

requested instead that B.X. be placed in the custody and sponsorship of Holly and Matthew Sewell.

See, Exhibit 2.

       B.         Respondents have a legal duty to promptly place B.X. in the least restrictive
                  setting that is in his best interest without unnecessary delay.

       16.        On November 2, 2018, B.X. presented Respondents with sworn to affidavits from

both of his biological parents designating the family of Holly and Matthew Sewell as capable and

willing sponsors to care for B.X., requesting that Respondents release B.X. from incarceration and

transfer him to the custody of Holly and Matthew Sewell. See, Exhibit 3. By email of November

5, 2018, Respondents summarily rejected the Sewell family as sponsors for B.X., based on ORR

rules prohibiting B.X. from “…. reunification with families that don’t know the minor or his

family.” See Exhibit 4. By email of November 6, 2018, Respondents again rejected B.X.’s repeated

entreaties that he be released according to his parent’s wishes by stating: “Per policy, we are not

able to reunify any child with people that are not known by the family”. See, Exhibit 5.

       17.        By separating B.X. from his father on May 21, 2018, and deporting David on May

28, 2018, the government rendered B.X. on unaccompanied child (UAC) subject to supervision by

Respondents pursuant to § USC § 279 (g) (2), as B.X. has no lawful immigration status in the U.S.,

is a minor, and has no parent or legal guardian in the U.S.

       18.        Government care and custody of UACs is governed by a legal framework

consisting primarily of two statutory provisions—6 U.S.C. § 279 and 8 U.S.C. § 1232—plus a

court authorized settlement agreement that is binding on the pertinent federal agencies. In the

1980s and 1990s, immigrant children who arrived in the U.S. were routinely locked up for months


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in unsafe and unsanitary jail cells in remote facilities across the country. These conditions

prompted a federal lawsuit, Flores v. Reno, which resulted in a 1997 consent decree (the “Flores

Agreement” or “FSA”) binding on DHS and ORR, still effective today, that sets national standards

for the detention, release, and treatment of immigrant children in government custody. See, Exhibit

6.

        19.     In addition to setting certain minimal detention standards, Flores guarantees that

children shall be released “without unnecessary delay” while they await their immigration status.

As the Fourth Circuit explained, “[T]he Flores Agreement spells out a general policy favoring less

restrictive placement of alien children (rather than more restrictive ones) and their release (rather

than detention).” D.B. v. Cardall, 826 F.3d 721, 732 (4th Cir. 2016).

        20.     In 2002, Congress took further action to protect this vulnerable population when it

passed the Homeland Security Act (‘HSA”) and transferred the care and custody of

unaccompanied immigrant children from the Immigration and Naturalization Service (“INS”) to

the Office of Refugee Resettlement, housed within the Department of Health and Human Services.

ORR is not a security agency; its mission is to “incorporate child welfare values” into the care and

placement of unaccompanied immigrant children. The Flores Agreement is binding on all

successor agencies to the INS, including Respondents.

        21.     Building on Flores and the provisions of the HSA regarding immigrant children,

Congress further passed the William Wilberforce Trafficking Victims Protection Reauthorization

Act of 2008 (“TVPRA”), codified at 8 U.S. C. § 1232, which grants legal protections to children

in ORR custody and tasks the agency with ensuring they are “promptly placed in the least

restrictive setting that is in the best interest of the child.” Senator Diane Feinstein, a sponsor of the

bill that would become the TVPRA, explained that the legislation was intended to redress



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situations like one she had personally witnessed, where an unaccompanied child remained in

custody for nine months after her initial detention. Congress enacted the TVPRA specifically to

facilitate the speedy release and minimal placement of immigrant children such as B.X.

             C.         ORR has unlawfully refused to release B.X. into the care of an appropriate
                        sponsor designated by his parents as capable and willing to care for him, as
                        required by law.

             22.        ORR prioritizes placement with sponsors by categorizing the children in order of

priorities, as follows: Category 1 children are children eligible to be sponsored by parents or legal

guardians; Category 2 children are children sponsored by immediate relatives; Category 3 children

are children sponsored by other eligible adults. Sponsors for Category 3 children who are not

otherwise related, however, are limited to family friends where a social relationship existed

between the families before the child migrated to the U.S. 2                                      All other children incarcerated by

Respondents are classified as Category 4 children, which Category sets out that there are no

eligible sponsors. See, ORR Policy Guide at 2.2.1, and 2.2.4 Exhibit 10. B.X. is designated a

Category 4 child by Respondents with no qualified sponsors that may be designated by his parents

under its policies.

             23.        Paragraph 14 of the Flores Settlement Agreement requires in relevant part that:

               “Where the INS (ORR) determines that the detention of the minor is not required either
               to secure his or her timely appearance before the INS or the immigration court, or to ensure
               the minor’s safety or that of others, the INS (ORR) shall release a minor from its custody
               without unnecessary delay, in the following order of preference, to:

               a.       a parent
               b.       a legal guardian


2
     Although Section 2.2.1 of ORR’s Policy Guide allows for the designation by the parents of unrelated adults as sponsors for incarcerated
    children (Category 3), Section 2.2.4 provides:

            “Category 3 potential sponsors who are unable to provide verifiable documentation of a familial relationship
            with the unaccompanied alien child must submit evidence that reliably and sufficiently demonstrates a bona
            fide social relationship with the child ‘s family that existed before the child migrated to the United States.”
            See Exhibit 10.



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        c.     an adult relative (brother, sister, aunt, uncle, or grandparent);
        d.     an adult individual or entity designated by the parent or legal guardian as capable
               and willing to care for the minor’s well-being in a declaration signed under penalty
               of perjury before an immigration or consular officer….” See, Exhibit 6.

The Flores Agreement dovetails with 8 CFR § 1236.3, which likewise calls for the release of

incarcerated minors , where the parents are outside the U.S., to a person designated under oath by

the minor’s parents before a U.S. consular official as capable and willing to care for the minor’s

well-being. B.X.’s parents have so designated the Sewell family at the Embassy of the United

States in Guatemala City. See, Exhibits 7 and 8. Holly and Matthew Sewell have submitted an

affidavit as well, agreeing to care for B.X. as required by law. See Exhibit 9.


       24.     The Flores Agreement and 8 CFR § 1236.3 do not require that the sponsor

designated by the parents of an incarcerated child as capable and willing to care for the minor have

a pre-existing social relationship with the child’s family prior to the child’s migration.

Respondents have not and cannot articulate a reason for this arbitrary requirement.

       25.     B.X. is the victim of the illegal rules set out in the ORR Policy Guide. Although

the Sewell and Xol-Cholom families, as well as B.X., have met with each other by video

conference, and the parents of B.X., and B.X. himself, have requested the designation of the Sewell

family as competent and willing sponsors, Respondents have disqualified the Sewell family out of

hand, and without articulating a reason for doing so – other than their summary exclusion under

the above ORR rules because the families’ social relationship that in fact does exist today between

the families, did not exist before May of 2018.

       26.     B.X. contests his continued incarceration by means of Respondent’s continued

refusal to release him to an adult designated by his parents under oath before a U.S. Consular

officer as capable and willing to care for B.X., as provided for in the FSA and in 8 CFR § 1236.3,

on the basis that B.X.’s continued incarceration, on its face, is not required to secure his timely

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appearance before immigration authorities, or to ensure his safety or that of others. Moreover, the

decision to disqualify the Sewell family as capable and fit sponsors, according to the sworn to

wishes of B.X.’s parents, has no factual basis, and there is not a facially legitimate and bona find

reason to continue to prolong B.X.’s incarceration.

        27.     B.X.’s fundamental rights to family integrity - his right to have his fit parents decide

what is in his best interest, where his safety is not otherwise at risk - were violated when

Respondents refused to consider his placement with a sponsor of his parents’ choosing.

        28.     Having determined that it would deprive B.X. of his fundamental right to family

integrity, Respondents owed B.X. some form of adversarial process.              Instead, Respondents

exclusively relied on its flawed rule requiring a pre-existing familial relationship to summarily

invalidate his parents’ designation of a sponsor for B.X. Moreover, Respondents took absolutely

no action to initiate proceedings to justify its actions.

        29.     This offhand and capricious preclusion of a fit sponsor designated by B.X.’s parents

to care for him in lieu of continued incarceration “…. involves a breach of ‘perhaps the oldest of

the fundamental liberty interests’ recognized by the Supreme Court – the interest of parents in the

care, custody and control of their children.” D.B. v. Cardall, 826 F.3d 721, 740 (4th Cir. 2016)

(quoting Troxel v. Granville, 530 U.S. 57, 65 (2000). This total lack of procedures creates a

substantial risk that B.X would be, and continuous to be, unlawfully deprived of his right to

freedom and to family integrity. Respondents cannot demonstrate any interest justifying their

failure to accord B.X. procedures based on due process of law.

        D.      Holly and Matthew Sewell are competent and willing sponsors.

        30.     Holly Sewell (hereinafter “Holly”), and Matthew Sewell (hereinafter “Matthew”),

who are 41 and 48 years of age, respectively, are a married couple with two young children living



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in Buda, Texas. Desmond is six years of age, and Winifred, is four years of age. The Sewell

family reside in a comfortable suburban two-story home. See, Exhibit 9.

       31.     Matthew is a professional software engineer with 12 years of experience in his

practice. He is employed by a software engineering firm, MineralSoft, based in Austin, Texas,

which provides software and computer services to commercial interests. He has been employed

by MineralSoft for almost a year and earns a yearly salary of $121,000 as a Senior Software

Engineer. Matthew worked for Krummerich Engineering Co. in Ventura, California for almost

five years before he was recruited by his current employer. Matthew has successfully raised two

children into adulthood by a prior marriage, as well as successfully helped raise a third child into

adulthood as a legal guardian on behalf of a deceased friend. See, Exhibit 9.

       32.     Holly is a full-time stay at home mother with 20 years of experience working in

live theatre performances, both onstage and off, and as a music director and music teacher. She is

a member of the Actors Equity Association, a labor union of professional actors. Holly is active

in her local government, serving as a commissioner on the Buda Parks and Recreation

Commission, and as a commissioner on the Keep Buda Beautiful Commission. The Sewell family

are members of the Austin YMCA. The great majority of Holly’s time is spent tending to her

family. See, Exhibit 9.

       33.     Winifred and Desmond attend neighborhood schools in their tight-knit

neighborhood situated Southwest of Austin, composed for the most part by families with children.

The Sewell children are involved in organized sports programs through the Austin YMCA. There

is ample room in the Sewell family home to house B.X. when he is released to the Sewell family

by Respondents. See, Exhibit 9.




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        34.       Matthew and Holly carry no debt beyond their mortgage and two car payments.

Their income is clearly sufficient to care for B.X.’s needs. They have never been arrested and are

peaceful and responsible citizens, with no criminal, financial, or other record showing otherwise.

They have agreed to sponsor B.X. only with the full, clear, and unambiguous consent of B.X.’s

parents after speaking with both of them, and with B.X., at length, by videoconference. They are

committed to caring for B.X. as long as necessary, and are doing so only out of what they believe

is their responsibility as Americans who have the means and ability to respond in the manner they

are doing to rescue a young refugee child from the traumatizing effects of prolonged incarceration.

See, Exhibit 9. Matthew and Holly Sewell are fit custodians for the placement of B.X. with their

family, and allowing them to sponsor B.X. would ensure his safety and that of others, and is in his

best interests.

        35.       Holly and Matthew Sewell have each committed themselves to provide for B.X.’s

presence at all called appearances on his immigration court proceedings, at all meetings or

conferences called for by Respondents or other government agencies, and to keep Respondents

advised of the status of their sponsorship of B.X. at all relevant times, or whenever called to do so

by rules of Respondent. Allowing the Sewell family to sponsor B.X. would not interfere with

securing his timely appearance before the immigration court, or his continued non-detained

supervision by Respondents. There is no basis whatsoever for Respondents to determine that the

Sewell family will not properly and fully provide for B.X.’s physical and mental well-being.

        E.        Respondents’ prolonged incarceration is causing grievous and continuing
                  harm.

        36.       It has long been recognized that even short periods of detention are inimical to the

well-being of children and their separated families. See, generally I.B. Holman & J. Ziedenberg,

The Dangers of Detention: The Impact of Incarcerating Youth in Detention and Other Secure


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Facilities (Justice Policy Institute, ed.) available at www.justicpolicy.org/images/upload/096-

11_re_dangersofdetention_jj.pdf.

       37.      As a child of eight years, speaking only K’iche when separated from his father and

incarcerated in a strange and alien land, B.X. is particularly vulnerable, and the continued

prolonged detention of B.X. is far worse than just generally injurious—it is inflicting devastating

trauma on a child of tender age. This grievous harm and trauma caused by his prolonged detention

at the hands of the government is ongoing, as are the violations of B.X.’s constitutional, statutory,

and other legal rights.

       38.      This court has “…. discretion in conditioning a judgement granting relief,” Hilton

v. Braunskill, 481 U.S. 770, 775 (1987). B.X.’s ongoing and prolonged detention bears no

reasonable relation to any government purpose. B.X.s has committed no crime. He is not a danger

to anyone. His parents have designated a capable, and willing sponsor to care for their child,

according to the requirements of law. Matthew and Holly Sewell are in fact capable, proper, and

fit sponsors, and it is highly unlikely a young child such as B.X. would abscond. B.X. is enduring

unlawful and prolonged incarceration. The court should grant the petition for a Writ of Habeas

Corpus and require that B.X. be released to the care and custody of Holly and Matthew Sewell.


                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                                      HABEAS CORPUS

       1.       B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

       2.       As set forth above, Respondents are holding Petitioner B.X. in federal custody in

violation of the Flores Agreement, federal statutes, and the U.S. Constitution.


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       3.       Accordingly, Petitioner B.X. seeks a writ of habeas corpus compelling

Respondents, after hearing to release B.X. to the custody and care of Matthew and Holly Sewell.

                             SECOND CLAIM FOR RELIEF
                  VIOLATION OF THE FLORES SETTLEMENT AGREEMENT

       4.       B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

       5.       The Flores Agreement authorizes class members to challenge the placement and

custodial decision regarding the minor in “any United States District Court with jurisdiction and

venue over the matter to challenge that placement determination or to allege noncompliance with

the standards set forth in Exhibit 1.” Flores Settlement Agreement, ¶ 24B, Exhibit 6.

       6.       The standard of review for placement decisions is “de novo.” Id.

       7.       As an unaccompanied immigrant minor, B.X. is a member of the Flores class and

is therefore authorized to challenge Respondents’ custodial decision in this Court.

       8.       Respondent’s disqualification of the Sewell family, duly designated by B.X.’s

parents as capable and willing to care for B.X., despite the Sewell family being fit sponsors, and

Respondent’s continued incarceration of B.X., is a violation of the Flores Agreement.




                              THIRD CLAIM FOR RELIEF
             VIOLATION OF FIFTH AMENDMENT RIGHT TO SUBSTANTIVE DUE
                                  PROCESS

       9.       B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

       10.      The substantive component of the Due Process Clause of the Fifth Amendment to

the United States Constitution protects B.X.’s liberty interests. B.X. has a substantive liberty



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interest in family integrity. Separated from his family as an eight-year-old child in a foreign

country, B.X. is suffering grave harm due to his prolonged, unjustified and unlawful detention.

       11.      Respondents’ policies and actions, as set forth above, have infringed upon B.X.’s

substantive liberty interest in being free from prolonged confinement. These policies and actions

have caused a period of prolonged confinement in detention facilities without any allegation of

criminal wrongdoing or juvenile delinquency or otherwise being related to any government need,

resulting in grave harm to a young child, shocking the conscience.

       12.      Respondents refusal to put into effect the wishes of B.X. and his parents in regard

to his care and safety, without a legal or factual basis, infringe upon B.X.’s substantive liberty

interest in family integrity, shocking the conscience.

                             FOURTH CLAIM FOR RELIEF
             VIOLATION OF FIFTH AMENDMENT RIGHT TO PROCEDURAL DUE
                                  PROCESS

       13.      B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

       14.      The procedural component of the Due Process Clause of the Fifth Amendment to

the United States Constitution prevents the United States from depriving B.X. of liberty without

procedural protections. It also prevents the United States from depriving B.X. of his right to family

integrity without procedural protections.

       15.      Respondents’ policies and actions, as set forth above, have deprived B.X. of

freedom from confinement and his right to family integrity without providing him notice, a right

to counsel, an opportunity to respond including an opportunity to present and confront evidence,

a neutral decision-maker, a written decision, and a right of appeal.




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                              FIFTH CLAIM FOR RELIEF
                VIOLATION OF SECTION 235 OF THE TRAFFICKING VICTIMS
                PROTECTION REAUTHORIZATION ACT, 8 U.S.C. § 1232

        16.     B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

        17.     Respondents have a non-discretionary duty to promptly place B.X. in the least

restrictive setting that is in his best interests.

        18.     By failing to place B.X. in the care of a sponsor chosen by his parents, Respondents

have failed to act promptly.

        19.     Respondents have arbitrarily and unlawfully failed to place B.X. in the least

restrictive setting that is in his best interests.

                                        SIXTH CLAIM FOR RELIEF

                  VIOLATION OF THE ADMINISTRATIVE PROCEDURES ACT

        20.     B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

        21.      B.X. has been aggrieved by Respondents’ actions in detaining B.X. and refusing

to consider his placement with a sponsor of his and his parents’ choosing. Respondents’ detainment

of. and failure to release B.X. constitutes final agency action. ORR’s Policy Guide establishes

final agency action resulting in the prolonged detention and refusal to release B.X. ORR has not

promulgated rules that provide procedures for challenging ORR’s Policy Guide or the policies

unlawfully promulgated thereby.

        22.     The agency’s action determined the rights of B.X. and has the legal consequence

of his continued detainment, despite the designation by his parents of a fit sponsor, depriving him




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of his fundamental right to freedom and family integrity. Accordingly, B.X. is entitled to judicial

review of ORR’s actions under 5 U.S.C. § 704.

       23.     The Administrative Procedures Act (“APA”) requires agency rules to be

promulgated through the notice and comment process. The APA defines a “rule” as “an agency

statement of general or particular applicability and future effect designed to implement, interpret,

or prescribe law or policy or describing the organization, procedure, or practice requirements of

an agency.” 5 U.S.C. §551(4).

       24.     The ORR describes its Guide for Children Entering the United States

Unaccompanied (“ORR Guide”) as detailing ORR policies for the placement, release and care of

unaccompanied alien children in ORR custody. See, Exhibit 10. The ORR rule applicable to

Category 4 children in ORR custody, preventing their release to appropriate sponsors, is contained

in Section 2.2.1 and 2.2.4 of the Guide. See, Exhibit 10. The entire ORR Guide was promulgated

in violation of the APA. The APA requires that an agency first publish in the Federal Register the

agency’s proposed rules and its claim of statutory authority for those rules to provide notice to the

public, then give the public an opportunity to comment on the proposed rules, and then publish the

final rules in the Federal Register at least 30 days before the effective date. 5 U.S.C. §§

552(a)(1)(C)-(D), 553(b)-(d).

       25.     ORR ignored all of these APA requirements and instead posted the ORR Guide on

its website and began immediate enforcement of the requirements. Moreover, the ORR failed to

articulate any explanation—much less a rational one—as to why it will not release Category 4

children to fit sponsors chosen by the parents of incarcerated children according to the dictates of

the Flores Agreement.




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       26.      The reviewing court judges the agency’s action by the grounds invoked by the

agency, and where, as here, those grounds are inadequate or improper then the court is powerless

to affirm the administrative action. Sec. & Exch. Comm’n v. Chenery Corp., 332 U.S. 194, 196

(1947). 113. Accordingly, under 5 U.S.C. §§ 706(1), (2)(A), (2)(C), and (2)(D), this court should

set aside ORR policies which require proof of a pre-existing relationship before qualifying a

sponsor designated by a child’s parents to care for an incarcerated child, because such a rule is

arbitrary and capricious, in excess of statutory jurisdiction and fails to observe the procedures

required by the APA, and compel the release of B.X. to the custody of Matthew and Holly Sewell.

       27.      B.X. has exhausted all administrative remedies available to him as of right.

       28.      B.X. has no recourse to judicial review other than by this action.

                        SEVENTH CLAIM FOR RELIEF
      VIOLATION OF THE ADMINISTRATIVE PROCEDURES ACT PROHIBITION
    ON ARBITRARY, CAPRICIOUS, AND UNLAWFUL GOVERNMENT ACTION

       29.      B.X. incorporates the allegations set forth in Paragraphs 1 through 38, as if fully set

forth herein.

       30.      B.X. has been aggrieved by agency action under the Administrative Procedure Act,

5 U.S.C. §§ 701 et. seq. Respondents’ detention of B.X. and their failure to release B.X. to a fit

sponsor designated by his parents as capable and willing to care for him is arbitrary, capricious,

and not in accordance with the law, ignoring the mandate of the Flores Settlement Agreement.

       31.      B.X. has exhausted all administrative remedies available to him as of right.

       32.      B.X. has no recourse to judicial review other than by this action.




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                                       PRAYER FOR RELIEF

              Petitioner B.X. prays that the Court assume jurisdiction over this Petition and

Complaint and grant the following relief:

     A.       A writ of habeas corpus compelling Respondents to show cause why B.X. should

  not be released to the custody and care of Matthew and Holly Sewell, and an order, after

  hearing, compelling Respondents to release Petitioners to Holly and Matthew Sewell.

     B.       A declaration that Respondents have violated B.X.’s constitutional and statutory

  rights.

     C.       A declaration that Respondent’s exclusion of sponsors designated by parents, living

  outside of the U.S., as competent and willing to care for their incarcerated children where there

  is not a showing of a pre-existing social relationship between the families, is unlawful; and an

  injunction against the further enforcement of those requirements of the ORR Guide.

     D.       A declaration that Respondents’ policy against the release of Category 4 children

  to appropriate and fit sponsors, where designated by the parents living outside of the U.S., on

  the basis of no pre-existing social relationship between the families violates the TVPRA, the

  Administrative Procedure Act, and the Due Process Clause.

     E.       An injunction compelling B.X.’s placement in the custody of Holly and Matthew

  Sewell, sponsors of his parents’ choosing, as required by federal statutes, the Flores Settlement

  Agreement, and the Constitution.

     F.       An award of attorney’s fees and costs to the extent permitted by law, including but

  not limited to the Equal Access to Justice Act, 5 U.S.C. § 504, 28 U.S.C. §2412; and

     G.       Any other relief the Court deems just and proper.




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


 B.X., a minor,                                 §
                                                §
        Petitioner/Plaintiff,                   §
                                                §
        v.                                      §
                                                §
 JONATHAN HAYES, in his official                §     CIVIL ACTION NO. ___________
 capacity as Interim Director of the Office     §
 of Refugee Resettlement, and                   §
 SERVANDO BARRERA, in his official              §
 capacity as Federal Field Specialist,          §
 Office of Refugee Resettlement,                §
                                                §
                                                §
        Respondent/Defendant.
                                              ORDER

The Court having considered the Petition for the issuance of a Writ of Habeas Corpus by B.X., a

minor, pursuant to 28 U.S.C. § 2241, as well as having considered the verified facts set out in the

petition, and finding that a writ of habeas corpus should issue pursuant to 28 U.S.C. § 2243, the

court does hereby;

   ORDER, ADJUDGE, AND DECREE:

   1. That respondents show cause why petitioners should not be released to the custody of the

       sponsors designated by his parents;

   2. That respondents shall make a return, certifying the true cause of the detention of

       Petitioner within three days from signature date herein, pursuant to 28 U.S.C. § 2243.


Entered at Brownsville, Texas, on this _____ day of February 2019.



                                           ________________________________
                                           United States District Judge

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STATE OF TEXAS
COUNTY OF HAYES



                           DECLARATION OF HOLLY SEWELL


The undersigned being Holly Sewell, who, after first having been put under oath, does swear and

affirm the below to be true and correct from my personal knowledge.

   1. My name is Holly Sewell. I am 41 years of age and reside at 12703 Taylor Drive, Buda,

       Texas 78610. I am married to Matthew Sewell. I live with Matthew and our children

       Desmond, 6 years of age, and Winifred 4 years of age, at the above address, in a home that

       we have owned for almost a year and a half.

   2. I have 20 years of experience working in live theatre, both on and off the stage, and have

       worked as a music director and music teacher. Today I am a stay at home mother devoting

       most of my time raising our family.

   3. Matthew is a software engineer. We are recent arrivals in Texas, having moved to the

       Austin area from California almost 2 years ago. My husband is employed by MineralSoft,

       a technology company in Austin which provides electronic mineral rights and royalty

       management services for the Oil and Gas industry. Matthew has been a computer engineer

       for 12 years.   Before MineralSoft, Matthew was employed for almost 5 years by

       Krummrich Engineering Corporation in Ventura, California. Matthew currently earns a

       salary of $121,000 per year plus bonus and benefits. We have no debt, other than the

       mortgage on our home, and two car payments.

   4. I am a member of the Actors Equity Association, a labor union of professional actors. I

       am also a commissioner on the Buda Parks and Recreation Commission as well as a
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   commissioner on the Keep Buda Beautiful Commission, which are public bodies servicing

   the City of Buda, Texas.

5. Our family lives in a two story 5-bedroom home on a half-acre lot situated in a tight-knit

   suburban community made up of many families with children, which is a home that is

   valued at $400,000. We currently have approximately $110,000 equity on our home. Our

   home has play areas for our children, including a fenced in swimming pool.

6. Neither, Matthew or I have ever been arrested. We have been careful to pay our debts

   when due and have never declared bankruptcy. Matthew’s income is more than sufficient

   for our needs, with a surplus which we use for savings.

7. Matthew and I are part of a nurturing family. Matthew has successfully raised two children

   into adulthood by a prior marriage, and successfully helped raise a child of a friend of

   Matthew’s who died leaving his child behind.

8. We are members of the Austin YMCA. Our children participate in baseball and soccer

   leagues organized by the YMCA, and both Matthew and I devote much of our time in

   exposing our children to sports and outdoor activities, as well as music and art.

9. I was shocked by the separation of refugee families, and the incarceration of refugee

   children, beginning this past spring when the government commenced its zero-tolerance

   policy, and was distraught over the thought of innocent children being incarcerated and

   left behind by the government that was deporting their parents. I felt a need to open our

   home and provide care where we could for the children.

10. After much discussion, our family agreed to make ourselves, and our home, available to

   sponsor an incarcerated child. We made inquiries about how these cases were being

   handled and learned that, while some children are temporarily placed with family
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                 BROWNSVILLE DIVISION



     B.X., a minor,                                 §
                                                    §
            Petitioner/Plaintiff,                   §
                                                    §
            v.                                      §
                                                    §
     JONATHAN HAYES, in his official ca-            §           CIVIL ACTION NO. 1:19-cv-00017
     pacity as Interim Director of the Office of    §
     Refugee Resettlement, and SERVANDO             §
     BARRERA, in his official capacity as           §
     Federal Field Specialist, Office of Refu-      §
     gee Resettlement,                              §
                                                    §
            Respondent/Defendant.                   §




                               DECLARATION OF AMY COHEN M.D.


1.        I, Amy Cohen M.D., make the following declaration based on my personal knowledge and

          declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true

          and correct.

2.        My name is Dr. Amy J. Cohen. I am licensed to practice medicine in the state of California.

          I am a Child Psychiatrist with over 30 years of experience working with traumatized pop-

          ulations of children and adults, most recently with the asylum-seeking population who have

          been affected by separation policies. I have published articles on the impact of trauma on

          children separated from parents. I have also reviewed the scholarly and research literature




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          on the impact of both separation and detention/institutionalization on the mental and phys-

          ical health of asylum-seeking children.

 3.       I received my medical degree from the Perelman University of Pennsylvania School of

          Medicine where I graduated with honors, receiving the Apfel Award for excellence in Psy-

          chiatry. I served as assistant to Dr. Albert Solnit, then Director of the Yale Child Study

          Center and author (with Anna Freud and Donald Goldstein) of “Beyond the Best Interests

          of the Child”. I received my internship, residency and child fellowship training at Harvard

          Medical School programs and completed my training in 1989.

 4.       I have been asked to consult on the case of B.X. by his attorney, Mr. Ricardo de Anda. In

          that capacity, I conducted a two-hour interview with B.X. on February 14, 2019 at the

          BCFS Shelter in Raymondville, Texas where he is currently confined. I subsequently

          conducted additional two-hour interviews with his father, David, by telephone (with use of an

          interpreter) and with Holly Sewell, who - with her husband - has been requested and

          authorized by B.X.’s family to serve as sponsor to B.X while his father is appealing his

          deportation.

 5.       I am submitting this declaration in support of Mr. de Anda’s request that B.X. be released

          to Holly and Matthew Sewell in an expedited manner. It is my opinion that any delay in

          releasing B.X. will more likely than not result in protracted if not irreparable harm to B.X’s mental

          and physical health.

6.        As per B.X.’s father (David), he and B.X. fled Guatemala in May of 2018, following death

          threats by cartel members in which they declared their intention to kill both David and B.X.

          A near-fatal attack on David because of his evangelical preaching in November of 2017 and,

          following a 10-day hospitalization for knife wounds, David returned home only to be told that his

          family would now be targeted as well, B.X., then 8 years old, was singled out.


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7.        B.X. recalls his father’s injuries and his extreme fear during his father’s recovery. Terrified

          for the safety of their son, David and his wife worked to raise the money for an escape to

          asylum in the United States. B.X was deeply distressed by the departure from his mother,

          his siblings and his home but was told that David needed to seek work elsewhere and that the

          family would quickly follow.

8.        David reports that the journey through Mexico was terrifying for both him and B.X. Father

          and son were given little food and water and were transported in a sweltering trailer-truck

          crammed with many others fleeing violence in Honduras. David often gave his meagre

          rations to his son and would stand for hours so that his small child might have the room to lie

          down and sleep in the crowded vehicle. After days of this, father and son were locked into

          a house uncertain of why or when they would get out. Finally, they were transported to the

          Rio Grande where, in the middle of the night, they were packed onto a small raft and sent

          across to Texas.

9.        Once in the United States, B.X. and his father were picked up by CBP officials and taken

          to the McAllen, Texas detention facility where they were initially placed together in a

          fenced-in and freezing enclosure where lights remained through day and night. They were

          compelled to sleep on the cold floor insufficiently warmed only by thin mylar blankets.

10.       Four days after their arrival, David reports that they were taken into a small office-type

          room where he was shackled hands and feet in front of his son and told that B.X. would be

          taken from him. He states that his child began to scream and cry and clung to his father. David

          reports that B.X. was abruptly and roughly pulled away and “dragged across the room like he was a

          dog”.




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11.   B.X. has now spent more than 1/10 of his young life in government institutions. Since being

      taken from his father and placed in ORR custody, B.X. has been placed in 4 different

      shelters. He was moved in November of 2018, again in December of 2018 and finally in

      January of 2019 to the Raymondville facility where he currently resides. In none of these

      institutions have staff spoken his native, indigenous language. In one of the shelters, the

      other children spoke only English.

12.   These moves have meant that B.X. has had to adapt to new staff, new rules and new chil-

      dren and has not been able to maintain any of the relationships which he may have built, and

      which may have helped him to counterbalance the terrible losses and isolation he suffers.

      His father reports that he is limited to 1 brief ten-minute call per week with his family. This

      may be less frequent, as David states that a call which fails to go through is not re-attempted

      and B.X. must wait another week before the facility attempts to contact his family again.

      As a consequence, B.X. may go for 2 weeks or longer with no family contact at all. During

      our interview he was most anxious to see if he could possibly have a video call with his

      father

13.   His father reports that B.X. expresses distress and frustration over his protracted confine-

      ment and has been chronically upset about and fixated on when he will get out. He expresses

      feelings of betrayal that so many weeks and months pass without his release. At times, he

      ex- presses hopelessness that it will ever happen at all.

14.   B.X. has “met” by video conference the Sewell family who his parents would like to spon-

      sor him while they await the results of David’s deportation appeal. He has been taken on a

      virtual tour of their home, met their children and been invited to ask questions. B.X. is aware that

      he would temporarily live with the Sewells and describes his eagerness to do so.




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15.       Many scholarly articles and research address the fact that institutionalized asylum-seeking

          children often suffer what is likely irreversible and certainly protracted psychological as

          well as medical/developmental damage as a consequence of their institutional confinement

          and that children who are instead released into the community fare far better. A number of

          factors place children at especially high risk, including:

                     - Pre-confinement trauma

                     - Young age and developmental stage

                     - Long duration of confinement

          Indeed, the longer the confinement, the greater the likelihood that the child will suffer more

          severe medical consequences of a longer duration.

16.       B.X.’s age, the trauma he has suffered - particularly in the fact and nature of his separation

          from his father - and especially the duration of his confinement place him at extremely high

          risk of irreversible damage due to toxic stress. Children experience time differently than do

          adults. For B.X., these months are experienced as years and every day of delay in his release

          feels more a week.

17.       Given all of these factors, there is no doubt that further delay of B.X.’s release is increas-

          ingly likely to result in long-term and possibly irreversible, physiological and

          developmental impairment due to, among factors, toxic stress.

18.       I have reviewed background reports from the FBI and the Texas Department of Public

          Safety, on Holly and Matthew Sewell and have interviewed Holly Sewell at length. I have

          found her to be a deeply caring and intelligent woman who, with her husband, has made this

          commitment




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      to caring for B.X. thoughtfully and with healthy motives. Holly and Matthew’s dedication

      to caring for B.X. has been exemplified through the lengths to which they have been willing

      to go in order to be vetted and approved, including contacting 5 different ORR-contracted

      fostering facili- ties to which they were willing to apply. Ms. Sewell expresses an acute

      awareness of B.X’s unique needs and appears willing to do all that might be required to meet

      those needs. For example, as I described potential issues with a child who has undergone the

      sort of trauma that B.X. has endured she asked me detailed and appropriate questions

      including whether I might refer them to a suitable therapist and whether this was a service

      which they should set up right away. They have expressed the wish to sustain an ongoing

      and close relationship with B.X’s parents so that they might mini- mize the impact of the

      family separation and offer him as much continuity with the parenting style of his parents as

      possible. They have demonstrated the sincerity of this wish by sustaining contact with David

      through these many months of seeking to sponsor B.X.

19.   I believe that any alternative to placement with the Sewells - including placement in another

      foster home - would not only fail to serve B.X.’s best interests but would likely result in an

      additional traumatic burden for him. The Sewell’s are now a family who B.X. has not only

      met at length but has identified as surrogates for his parents. To some degree, B.X. has been

      sustained and soothed over these long months by the image of the Sewells and their home as

      the place where he will stay while awaiting his father’s return. As people who his parents

      now know and to whom they have conveyed all that is needed to care for him, for B.X., the

      Sewell’s are now true surrogates for his family and his placement with them would serve as

      the very best mitigator against further pain and injury from the separation from his family.

      Based on all of these factors I can unequivocally state that Matthew and Holly Sewell are

      extraordinarily well suited to provide for the emotional and other needs of B.X. to an extent

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      rarely found in foster families.

20.   As of March 14, 2019, I have been informed that ORR plans to transfer B.X to a foster care

      center in San Antonio. It is my professional opinion that this is a very dangerous plan which

      is likely to only compound B.X.’s trauma and pain, negatively impacting his psychiatric,

      develop- mental and physiologic prognosis. This would be his fifth transfer by ORR to

      placement with another set of strangers and would, I believe, represent a serious blow to

      B.X.’s already fragile mental health. Placement in a foster home program would be

      experienced by this small child as yet another damaging, frightening and discouraging

      trauma. Further, such a placement would run contrary to the very rule which ORR has put

      forth as a reason for rejecting the Sewells; Refusal to place children with adults which whom

      he and his family have no pre-existing relationship. For 10 months, B.X. has endured these

      paradoxical placements, being moved again and again, always in the charge of complete

      strangers. Another foster family would represent yet another set of strangers. As B.X.’s

      anticipation of placement in the happy home of the Sewells has sustained him through these

      last months of misery and isolation, moving him yet again to yet another set of strangers

      would only deepen B.X.’s despair and mistrust of adults, compounding his traumatic

      experience and rendering any recovery from his past trauma infinitely more difficult and

      likely to increase his risk of permanent psychological and physiological impairment.

      Further, it is unlikely that any foster family in which B.X. was placed would be able to match

      the unique qualities which make the Sewell household such an ideal one for this young,

      traumatized child who has already suffered nearly a year of separation from his family,

      institutionalization and placement with strangers.




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21.   It is for these reasons that I strongly urge the expedited release of B.X. to the care of the

      Sewells. Further, I believe - as stated above - that any delay in B.X.’s release or alternative

      placement is very likely to add to his suffering and increase the long-term risk to his physical and

      psychological health. I believe that the urgency of the risks to his well-being mandate resolution to

      his confinement as soon as possible.

22.   I declare under the penalty of perjury that the foregoing is true and correct based on my own

      personal knowledge.




                                             EXECUTED ON THIS            14th    , day of March 2019



                                             Amy Cohen, M.D.




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